                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

DEMBA BAH,                                    )
                                              )
                              Plaintiff,      )
v.                                            )      Case No. 2:21-cv-04068-NKL
                                              )
CASEY’S GENERAL STORES, INC.                  )
                                              )
                              Defendant.      )

                             JOINT NOTICE OF SETTLEMENT

       Plaintiff and Defendant respectfully notify the Court that they have agreed in principle to

settle the above-captioned matter. Counsel for the parties are currently in the process of preparing

and finalizing the Settlement Agreement. The parties intend to file appropriate dismissal

documents with the Court upon perfection of the settlement agreement.



Respectfully submitted,


/s/ Anthony J. Meyer                              /s/ Robert J. Rojas
Bradford B. Lear                                  Robert J. Rojas, #65144
Todd C. Werts                                     Direct: 816.627.4437
Anthony J. Meyer                                  E-Fax: 816.817.2767
LEAR WERTS LLP                                    rrojas@littler.com
103 Ripley Street                                 Jennifer A. Schorgl, #71159
Columbia, MO 65201                                Direct: 816.627.4426
Telephone: 573.875.1991                           E-Fax: 816.817.1627
Facsimile: 573.279.0024                           jschorgl@littler.com
lear@learwerts.com                                LITTLER MENDELSON, P.C.
werts@learwerts.com                               1201 Walnut Street, Suite 1450
meyer@learwerts.com                               Kansas City, MO 64106

ATTORNEYS FOR PLAINTIFF                           ATTORNEYS FOR DEFENDANT




          Case 2:21-cv-04068-NKL Document 26 Filed 10/26/21 Page 1 of 2
                               CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2021, a true and correct copy of the foregoing was

electronically submitted via the Court’s e-filing system, which generated notice of same to the

following counsel of record:

        Bradford B. Lear
        Todd C. Werts
        Anthony J. Meyer
        LEAR WERTS LLP
        103 Ripley Street
        Columbia, MO 65201
        Telephone: 573.875.1991
        Facsimile: 573.279.0024
        lear@learwerts.com
        werts@learwerts.com
        meyer@learwerts.com

        ATTORNEYS FOR PLAINTIFF

                                                  /s/ Robert J. Rojas
                                                  ATTORNEY FOR DEFENDANT




                                              2
         Case 2:21-cv-04068-NKL Document 26 Filed 10/26/21 Page 2 of 2
